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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division

  UNITED STATES OF AMERICA

        v.
                                                        Case No. 2:11-cr-152
  ANDREW GLENFORD BROWN,

        Defendant.


                                 OPINION & ORDER

       Before the Court is Defendant Andrew Glenford Brown’s Motion for

 Compassionate Release. ECF Nos. 38, 42. 1 For the reasons stated below, the motion

 will be DENIED. 2

 I.    BACKGROUND

       The defendant pleaded guilty to Bank Robbery, in violation of 18 U.S.C.

 § 2113(a) and (d) and Brandishing a Firearm during a Crime of Violence, in violation

 of 18 U.S.C. § 924(c)(1)(A)(ii). ECF No. 16. He was assigned a total offense level of 26




 1 The defendant filed a “Motion for Reduction of Sentence Pursuant to 18 U.S.C.

 § 3582 and § 4205(g)” on April 11, 2021. ECF No. 38. The Federal Public Defender’s
 Office was appointed to represent the defendant, ECF No. 39 ¶ 1, but withdrew due
 to a conflict. ECF Nos. 40, 41. The Court appointed a new attorney for the defendant
 under the Criminal Justice Act, and counsel filed a “Motion for Reduction of
 Sentence” on November 5, 2021. ECF Nos. 41–42. The Court reviewed the motions
 and determined that both seek the same relief. Compare ECF No. 38 with ECF
 No. 42. Thus, the Court will construe the two filings as one motion for compassionate
 release.

 2 The defendant also filed a “Motion for Status Conference on Motion for Reduction of

 Sentence.” ECF No. 55. That motion will be DENIED as moot.
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 and received 22 criminal history points. 3 ECF No. 30 ¶¶ 59, 66. This resulted in a

 criminal history category of VI. Id. ¶ 66.

         The defendant’s advisory sentencing guidelines range was 120–150 months for

 the bank robbery plus an 84-month mandatory minimum for the Section 924(c)

 offense. ECF No. 30 ¶ 67. The Honorable Henry Coke Morgan, Jr., to whom this case

 was originally assigned, sentenced the defendant to 120 months of incarceration on

 the bank robbery, 84 months on the Section 924(c) offense to be served consecutive to

 the bank robbery sentence, and 60 months of supervised release on each count, to be

 served concurrently to each other. ECF No. 28 at 1–2.

         The defendant did not appeal his conviction. However, he did file a motion to

 vacate under 28 U.S.C. § 2255. ECF No. 31. Judge Morgan dismissed that motion as

 untimely. ECF No. 37.

         The defendant filed a motion for compassionate release on April 11, 2021. ECF

 No. 38. The government responded in opposition to the motion for compassionate

 release on November 24, 2021. ECF No. 42. The defendant filed a reply on

 December 2, 2021. ECF No. 53. The case was reassigned to this Court on March 17,

 2023.




 3 Fifteen of the defendant’s 22 Criminal History Points resulted from juvenile offenses

 and counted under U.S.S.G. § 4A.1.1(b) and 4A.1.2(d) (U.S. SENT’G COMM’N 2011).
 See ECF No. 30 ¶¶ 61–66.
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 II.   LEGAL STANDARDS

       A.     Motions for Compassionate Release

              i.     Exhaustion

       Before the Court may consider a motion for sentence reduction under 18 U.S.C.

 § 3582(c)(1)(A)(i), the defendant must exhaust their administrative rights to appeal

 the Federal Bureau of Prisons’ failure to bring a motion on the defendant’s behalf. 18

 U.S.C. § 3582(c)(1)(A). Alternatively, once 30 days have passed after the defendant

 requested relief from the warden of their facility, the defendant may file a motion

 with the Court as though they had exhausted their administrative remedies. Id.; see

 United States v. Muhammad, 16 F.4th 126, 131 (4th Cir. 2021) (clarifying that a

 defendant may satisfy the exhaustion requirement by waiting 30 days from the date

 of their initial request to file a motion in the district court, even if the warden has

 already responded to their request). The exhaustion requirement “is a non-

 jurisdictional claim-processing rule” and therefore “may be waived or forfeited.”

 Muhammad, 16 F.4th. at 130.

              ii.    Merits

       A court may modify a term of imprisonment under 18 U.S.C. § 3582(c)(1)(A)(i)

 if, after considering the sentencing factors in 18 U.S.C. § 3553(a), it finds that

 “extraordinary and compelling reasons warrant such a [modification].” United States

 v. Hargrove, 30 F.4th 189, 197-8 (4th Cir. 2022). The overarching purpose of the

 compassionate release mechanism guides district courts’ consideration:

              When Congress authorized district courts, as a matter of
              discretion, to release an inmate from prison based on

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              extraordinary and compelling reasons, it did so to
              introduce compassion as a factor in assessing ongoing
              terms of imprisonment, authorizing a district court to give
              greater weight to an inmate’s personal circumstances—
              when sufficiently extraordinary and compelling—than to
              society’s interests in the defendant’s continued
              incarceration and the finality of judgments. Thus, motions
              for relief under § 3582(c)(1)(A)(i) ask courts to balance the
              severity of the inmate’s personal circumstances, on the one
              hand, against the needs for incarceration, on the other.

 Id. at 197. Courts in this district have generally considered the defendant’s

 arguments regarding extraordinary and compelling reasons for sentence modification

 first, then balanced the outcome of that analysis against the sentencing factors in

 section 3553(a). E.g., United States v. Ogun, No. 4:12-cr-4, 2023 WL 2207114, at *7

 (E.D. Va. Feb. 24, 2023); United States v. Nurani, No. 2:11-cr-34-3, 2023 WL 2058649,

 at *3 (E.D. Va. Feb. 16, 2023).

                     a.    Extraordinary & Compelling Reasons

       A court may modify a prisoner’s sentence under § 3582(c)(1)(A)(i) if it finds

 “extraordinary and compelling reasons” to do so. The prisoner bears the burden of

 demonstrating such reasons. See Hargrove, 30 F.4th at 195. The United States

 Sentencing Commission has promulgated a policy statement, U.S.S.G. § 1B1.13,

 which attempts to define what may constitute “extraordinary and compelling

 reasons.” United States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020), superseded by

 regulation, U.S.S.G. § 1B1.13. The Sentencing Commission recently amended the

 policy statement. Effective November 1, 2023, the amended policy statement provides

 a non-exhaustive list of extraordinary and compelling reasons for modifying a

 sentence:

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              (1)    the medical circumstances        of   the   defendant,
                     U.S.S.G. § 1B1.13(b)(1);

              (2)    the age of the defendant, U.S.S.G. § 1B1.13(b)(2);

              (3)    family circumstances of the defendant, U.S.S.G.
                     § 1B1.13(b)(3);

              (4)    whether the defendant was a victim of abuse while
                     incarcerated, U.S.S.G. § 1B1.13(b)(4);

              (5)    “[o]ther [r]easons,” U.S.S.G. § 1B1.13(b)(5); or

              (6)    an unusually long sentence, if the defendant meets
                     certain conditions, U.S.S.G. § 1B1.13(b)(6).

       The policy statement provides that an unusually long sentence may constitute

 an extraordinary and compelling reason for a modification when a change in the law

 “would produce gross disparity between the sentence being served and the sentence

 likely to be imposed at the time the motion is filed,” provided that the defendant “has

 served at least 10 years of the term of imprisonment.” U.S.S.G § 1B1.13(b)(6).

       Before the amended policy statement took effect, a defendant’s “relative youth

 at the time of [his] offenses” was one of the factors courts considered in the

 compassionate-release inquiry. See McCoy, 981 F.3d 271, 288 (4th Cir. 2020). The

 Sentencing Commission’s amended policy statement no longer addresses youth.

 See U.S.S.G. § 1B1.13. 4 However, as noted above, “[o]ther [r]easons” may be


 4 The Sentencing Commission has proposed an amendment to § 4A1.2 (Definition and

 Instructions for Computing Criminal History) to “change how sentences for offenses
 committed prior to age [18] are considered in the calculation of a defendant’s criminal
 history score; and an amendment to § 5H.1.1 to address unique sentencing
 considerations relating to youthful individuals,” including how “[c]ertain risk factors
 may affect a youthful individual’s development into the mid-20’s and contribute to
 involvement in criminal justice systems . . . .” U.S. Sentencing Commission, Proposed


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 considered to determine whether extraordinary and compelling reasons exist for

 relief. See U.S.S.G. § 1B1.13(b)(5) (recognizing that “other circumstance or

 combination of circumstances that, when considered by themselves or together with”

 the previously enumerated reasons, “are similar in gravity to” the enumerated

 reasons).

       As amended, the policy statement provides that extraordinary and compelling

 reasons exist, in the medical/health context, in three circumstances. First, where:

              The defendant is suffering from a terminal illness . . .
              serious physical or medical condition . . . serious functional
              or cognitive impairment . . . [or] deteriorating physical or
              mental health because of the aging process . . . that
              substantially diminishes the ability of the defendant to
              provide self-care within the environment of a correctional
              facility and from which he or she is not expected to recover.

 U.S.S.G. § 1B1.13(b)(1)(A–B). Second, where:

              The defendant is suffering from a medical condition that
              requires long-term or specialized medical care that is not
              being provided and without which the defendant is at risk
              of serious deterioration in health or death.

 U.S.S.G. § 1B1.13(b)(1)(C). And third, where:

              . . . (i) The defendant is housed at a correctional facility
              affected or at imminent risk of being affected by (I) an
              ongoing outbreak of infectious disease, or (II) an ongoing
              public health emergency declared by the appropriate
              federal, state, or local authority;

              (ii) due to personal health risk factors and custodial status,
              the defendant is at increased risk of suffering severe
              medical complications or death as a result of exposure to


 2024 Amendments to the Federal Sentencing Guidelines, https://perma.cc/UE8G-
 D5CW (last visited July 10, 2024).

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              the ongoing outbreak of infectious disease or the ongoing
              public health emergency described in clause (i); and

              (iii) such risk cannot be adequately mitigated in a timely
              manner.

 U.S.S.G 1B1.13(b)(1)(D)(i–iii).

       Although the Fourth Circuit has not, in a published opinion, definitively set

 forth the standard for courts to use when evaluating compassionate release motions

 based on COVID-19, it has stated that the person housed in prison must demonstrate

 “that the risk of contracting COVID-19 is higher in prison than outside of it, and that

 his preexisting conditions increase the risk of experiencing a serious or fatal case of

 the virus.” United States v. Davis, 99 F.4th 647, 655 (Apr. 18, 2024).

       The prevailing standard applied by courts in this district and elsewhere in the

 Fourth Circuit is that the person housed in prison must show “both a particularized

 susceptibility to the disease and a particularized risk of contracting the disease at his

 prison facility.” United States v. Feiling, 453 F. Supp. 3d 832, 841 (E.D. Va. 2020); see

 also, e.g., Hargrove, 30 F.4th at 196 (affirming a district court order denying relief

 after applying this standard); United States v. Adamson, 831 F. App’x 82, 83 (4th Cir.

 2020) (unpublished) (same).

       The incapacitation of a defendant’s parent may constitute an extraordinary

 and compelling reason for a sentence modification “when the defendant would be the

 only available caregiver for the parent.” U.S.S.G. § 1B1.13(b)(3)(C).

       The policy statement also clarifies to what extent rehabilitation of the

 defendant can be considered in the extraordinary-and-compelling-reason analysis. It

 states that “rehabilitation of the defendant is not, by itself, an extraordinary and
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 compelling reason for the purposes of this policy statement;” however, rehabilitation

 “may be considered in combination with other circumstances in determining whether

 and to what extent a reduction in the defendant’s term of imprisonment is

 warranted.” U.S.S.G. § 1B1.13(d).

                     b.    18 U.S.C. § 3553(a) Factors

       After completing the extraordinary-and-compelling-reasons analysis, courts

 must also consider the sentencing factors set forth in 18 U.S.C. § 3553(a). United

 States v. Mumford, 544 F. Supp. 3d 615, 617–20 (E.D. Va. 2021). Even if a court finds

 extraordinary and compelling reasons to reduce a defendant’s sentence, it may

 ultimately deny a motion for compassionate release if its analysis of the 18 U.S.C.

 § 3553(a) factors counsels against release. Id. Those factors are:

              (1)    the nature and circumstances of the offense and the
                     history and characteristics of the defendant;

              (2)    the need for the sentence imposed—

                     (A)   to reflect the seriousness of the offense, to
                           promote respect for the law, and to provide
                           just punishment for the offense;

                     (B)   to afford adequate deterrence to criminal
                           conduct;

                     (C)   to protect the public from further crimes of the
                           defendant; and

                     (D)   to provide the defendant with needed
                           educational or vocational training, medical
                           care, or other correctional treatment in the
                           most effective manner.

              (3)    the kinds of sentences available;



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              (4)   the kinds of sentence and the sentencing range
                    established [by the Sentencing Commission];

              (5)   any pertinent policy statement [issued by the
                    Sentencing Commission] [that is in effect on the date
                    the defendant is sentenced except as provided in
                    section 3742(g)];

              (6)   the need to avoid unwarranted sentence disparities
                    among defendants with similar records who have
                    been found guilty of similar conduct; and

              (7)   the need to provide restitution to any victims of the
                    offense.

 18 U.S.C. § 3553(a).

 III.   ANALYSIS

        A.    Motion for Compassionate Release

              i.        Exhaustion

        The defendant filed a request for compassionate release with the warden of his

 facility on March 10, 2021. ECF No. 49-3 at 2. The warden denied that request. Id. at

 1. The defendant waited at least 32 days to file his motion after initially requesting

 that the warden do so. Therefore, the Court finds that the defendant has satisfied the

 30-day waiting requirement.

              ii.   Merits

                    a.      Extraordinary & Compelling Reasons

        The defendant bases his motion on: (1) the decision in Dean v. United States,

 581 U.S. 62 (2017); (2) his youth at the time of the offense; (3) his mother’s health




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 needs; (4) his susceptibility to the COVID-19 virus; and (5) his rehabilitation. 5 ECF

 Nos. 38, 43. 6 For the reasons stated below, the Court finds that none constitute

 extraordinary and compelling reasons justifying a sentence modification.

                            1.    Dean v. United States

       The defendant’s first argument fails because his sentence was not unusually

 long, and the Dean decision was not a change in law that created a gross disparity in

 sentence lengths. In Dean, the United States Supreme Court clarified that “[n]othing

 in § 924(c) restricts the authority conferred on sentencing courts by § 3553(a) . . . to

 consider a sentence imposed under § 924(c) when calculating a just sentence for the

 predicate count.” Dean, 581 U.S. at 69.

       The defendant posits that because Judge Morgan “did not have the benefit” of

 the Dean decision at the time of sentencing, the Court “should [now] consider the



 5 The defendant requests that the Court modify his sentence from 204 months of

 incarceration to 144 months of incarceration. ECF No. 43 at 13. Additionally, the
 defendant suggests that the Court modify his two concurrent terms of 60 months of
 supervised release to instead run consecutively, resulting in 120 months of
 supervised release. Id.

 6  The government’s “Response in Opposition to Defendant’s Motion for
 Compassionate Release” does not address any arguments raised in the defendant’s
 counseled motion, but instead focuses on attacking the defendant’s pro se motion.
 Compare ECF No. 49 with ECF No. 38 and ECF No. 43. In his reply brief, counsel for
 the defendant asserts that the government’s incomplete response creates “a number
 of important concessions.” ECF No. 53 at 1. That is not the case. While the
 government’s omission represents a careless oversight, at best, it does not create a
 concession of fact that the Court is required to accept. See, e.g., United States v.
 Burrell, No. 3:04-cr-364, 2023 WL 7726404, at *4 n.6 (E.D. Va. Nov. 15, 2023)
 (denying motion for compassionate release without any response in opposition from
 the government); United States v. Kidwell, 5:19-cr-00025-002, 2022 WL 1785293,
 at *1 (W.D. Va. June 1, 2022) (same). The Court received enough information from
 the parties to answer without the government’s position on every argument.
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 effect of a mandatory 84-month consecutive sentence” on the 120-month sentence for

 the first count. ECF No. 43 at 10. The Court construes this argument to be made

 under U.S.S.G. § 1B1.13(b)(6). See id. (citing United States v. Ikegwuonu,

 No. 3:17-cr-72, 2021 WL 719160 (W.D. Wis. Feb. 24, 2021) (relying on Dean as a

 change in law in order to grant a sentence modification under § 1B1.13(b)(6)).

       As an initial matter, the defendant fails to demonstrate that he received an

 unusually long sentence. Judge Morgan sentenced the defendant at the bottom of the

 advisory sentencing guidelines range, compare ECF No. 28 at 1–2 with ECF No. 30

 at 67, and his term of incarceration was 80 months shorter than the median sentence

 length the year the defendant was sentenced, for defendants in this district who

 committed similar offenses. 7 Thus, the defendant does not meet the requirements for

 a sentence modification under § 1B1.13(b)(6).

       Further, the defendant does not establish that there has been “a change in the

 law” that would affect the length of his sentence were he sentenced today. U.S.S.G.

 § 1B1.13(b)(6). The defendant points to a case out of the United States District Court

 for the Western District of Wisconsin, in which the court recognized Dean as a change

 of law; but while Dean changed the law in the District of Wisconsin, it did not do so

 in this district. In United States v. Roberson, the United States Court of Appeals for

 the Seventh Circuit held that district courts could not consider the mandatory add-

 on sentence for brandishing under § 924(c) when determining the sentence for the




 7  U.S. Sentencing Commission,          Statistical   Information   Packet,      (2012),
 https://perma.cc/W45B-89CU.
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 underlying crime. 474 F.3d 432, 437 (7th Cir. 2007). When sentencing the defendant

 for bank robbery and brandishing, the Ikegwuonu Court “made clear . . . that it would

 have imposed a lower sentence but for Roberson.” Ikegwuonu, 2021 WL 719160, at

 *2. After Dean, the district court was permitted to resentence the defendant with the

 effect of the mandatory minimum in mind. Id. (explaining that, “had [the defendant]

 been sentenced after Dean, the court would have had the authority to impose a

 sentence lower than the [sentence] it felt bound to impose by Roberson”).

       Here, though, the defendant does not point to a rule in the Fourth Circuit that

 was equivalent to Roberson in the Seventh Circuit. See ECF No. 43. Accordingly, the

 defendant does not establish that Dean represented a change of law that qualifies

 under U.S.S.G. § 1B1.13(b)(6).

                           2.     Youth

       The defendant’s youth at the time of his offense does not constitute an

 extraordinary and compelling reason justifying sentence modification, because the

 evidence suggests that the defendant’s crime was not primarily a result of youthful

 irresponsibility. See Roper v. Simmons, 543 U.S. 551, 570 (2005) (“The susceptibility

 of juveniles to immature and irresponsible behavior means ‘their irresponsible

 conduct is not as morally reprehensible as that of an adult.’”) (citing Thompson v.

 Oklahoma, 487 U.S. 815, 835 (1988) (plurality opinion)). The defendant argues that

 his youth at the time of the offense “in combination with other factors can support a

 modification of sentence.” ECF No. 43 at 11. Although youth is not enumerated in

 Section 1B1.13(b), the Court will consider youth at the time of the offense under

 “other reasons.” See U.S.S.G. §1B1.13(b)(5); United States v. McCullers, No. 4:07-cr-
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 49, 2023 WL 8251591, at *6 (E.D. Va. Nov. 29, 2023) (considering youth under

 U.S.S.G.   §   1B1.13(b)(5));   United   States   v.   Carrington,   No.   3:09-cr-160,

 2022 WL 617617, at *7 (E.D. Va. Mar. 2, 2022) (same).

       In support of his motion, the defendant cites Roper, 543 U.S. at 570, to

 emphasize the “susceptibility of juveniles to immature and irresponsible behavior.”

 ECF No. 53 at 3. The defendant asserts that, at 22, he reached “the nadir of a

 downward spiral that began at age 12,” which led him to commit the offense he was

 sentenced for. ECF No. 43 at 11.

       The defendant’s argument is plausible. See McCoy, 981 F.3d at 279 (concluding

 that the defendants’ ages at the time of their offenses—ranging from 19 to 24—

 favored granting compassionate release). He was 22 at the time of the offense, and he

 came from a rough upbringing. ECF No. 30 at 43–47; ECF No. 43 at 3. Indeed,

 juveniles are more vulnerable to negative influences and outside pressures. Roper,

 543 U.S. at 558; see ECF No. 30 at 31–65 (noting the defendant’s juvenile record).

 And it is likely that his youth did play some part in his decision to engage in the

 criminal conduct at issue here. However, the defendant’s deliberate, planned act in

 the instant offense—armed bank robbery—combined with his previous criminal

 conduct, undermines the argument that his actions resulted primarily from youthful

 impulsivity. 8 See ECF No. 53 at 3.




 8 The defendant’s criminal history shows an escalating progression of violent and

 theft related offenses. See ECF 30 at 61–65 (beginning with petit larceny, concluding
 with the instant offense).
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       Tragically, it is not uncommon for a person who is incarcerated for a violent

 crime to have had early childhood exposure to crime and violence. While the

 circumstances of the defendant’s childhood and his youth at the time of the offense

 are certainly troubling, they are not so unusual as to amount to extraordinary and

 compelling reasons warranting a sentence modification.

                           3.     Mother’s Health Condition

       Additionally, the Court finds that the defendant’s mother’s worsening health

 condition does not constitute an extraordinary and compelling reason for a sentence

 modification, because the defendant is not the only available caregiver for his mother.

 The defendant represents that his mother suffers from “multiple health issues” that

 have “severely restricted” her mobility. ECF No. 43 at 4. The defendant’s stepfather

 “works two jobs, more than 60 hours per week.” Id. And because of her fall risk, the

 defendant’s mother “is confined to her bedroom while [her husband] is at work.” Id.

 The defendant requests to be released so that he can serve as his mother’s caregiver

 “while other family members are absent.” Id. at 11. The defendant does not, however,

 establish that he is the “only available caregiver” for his mother. U.S.S.G.

 § 1B1.13(b)(3)(C) (emphasis added). Therefore, the defendant’s mother’s health

 condition is not an extraordinary and compelling reason to modify the defendant’s

 sentence.

                           4.     COVID-19

       The defendant’s risk of contracting COVID-19 does not constitute an

 extraordinary and compelling reason justifying sentence modification, because he has

 failed to show that he is particularly susceptible to serious illness from COVID-19. In

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 his pro se motion, the defendant argues that he is particularly susceptible to getting

 seriously ill from COVID-19 because (1) he is obese and (2) he has prediabetes. ECF

 No. 38 at 10.

       The Centers for Disease Control and Prevention (“CDC”) defines “obesity” as

 having a BMI of 30.0 or higher, but under 40.0. 9 The defendant’s BMI is 30.8. ECF

 No. 43 at 4. Therefore, based on his BMI, the defendant is obese. The CDC advises

 that obesity “can make you more likely to get very sick from COVID-19” and that

 “[t]he risk of severe illness from COVID-19 increases sharply with higher BMI.” 10

 However, the defendant does not demonstrate that he faces a greater risk of serious

 illness in prison than he would face outside, if his sentence were modified. Davis, 99

 F.4th at 655. As of July 9, 2024, there are no active cases of COVID-19 among inmates

 or staff at the defendant’s facility. 11 In addition, over 60% (787 out of 1294) of the

 inmates have been vaccinated against COVID-19. 12

       The defendant represents that his prediabetes puts him “at an increased risk

 of death or serious illness form COVID-19.” ECF No. 38 at 10. Courts in this district

 have deferred to the CDC’s determination that individuals with prediabetes are not




 9 CDC, Medical Conditions, https://perma.cc/9CU7-4CAN (last visited July 10, 2024).


 10 See supra note 9.


 11 Federal Bureau of Prisons, Inmate COVID-19 Data, https://perma.cc/F9LU-JC22

 (last visited July 10, 2024).

 12 Federal Bureau of Prisons, supra note 11.



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 considered to be at a higher risk of severe illness from COVID-19. 13 United States v.

 Washington, No. 3:20-cr-66, 2023 WL 6226103, at *5 (E.D. Va. Sept. 22, 2023); United

 States v. Kimbrough, No. 3:09-cr-220, 2022 WL 248548, at *4 n.4 (E.D. Va. 2022).

       In addition, the defendant is 35 years old, ECF No. 30 at 2, which places him

 outside the age range that carries increased risk, as recognized by the CDC. 14

 Moreover, the defendant has taken the Pfizer-BioNTech vaccine, which has reduced

 his risk of serious illness. 15 ECF No. 51 (SEALED) at 16. This counsels against

 finding extraordinary and compelling reasons that justify release. See United States

 v. Bethea, 54 F.4th 826, 832 (4th Cir. 2022).

       Taken together, the defendant’s health conditions and current prison facility

 do not pose a particularized risk of serious illness from COVID-19 such that relief is

 warranted. This conclusion is consistent with the Sentencing Commission’s guidance.

 See U.S.S.G. § 1B1.13. The defendant is not “suffering from a terminal illness,” he

 does not have a “serious physical or medical condition” or “serious functional or

 cognitive impairment,” and his “physical or mental health” is not “deteriorating . . .

 because of the aging process.” U.S.S.G. § 1B1.13 cmt. n. 1 at (A)(i). Nor is the

 defendant “at least 65 years old” or “experiencing a serious deterioration in physical




 13 CDC, supra note 10.


 14 CDC, Underlying Medical Conditions, https://perma.cc/7RVZ-YUCD (highlighting

 increased risk of death after age 50) (last visited July 10, 2024).

 15 CDC, Overview of COVID-19 Vaccines, https://perma.cc/7RD2-KZW7 (last visited

 July 10, 2024).

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 or mental health because of the aging process.” Id. at (A)(ii). These factors, though

 not dispositive, counsel against issuing relief.

                            5.     Rehabilitation

       The defendant’s rehabilitation does not constitute an extraordinary and

 compelling reason justifying sentence modification, because of his repeated

 institutional infractions. The defendant argues that his rehabilitation while

 incarcerated, evidenced by his participation in a “wide range of programming,”

 warrants a sentence modification. ECF No. 38 at 13. He explains that he “is not the

 same young man who appeared before the Court for sentencing 12 years ago” and

 that he has “done absolutely everything in his power to make amends for his past

 actions.” Id. at 15. The Court does not doubt that the defendant has made strides

 while in prison. Indeed, his rehabilitation is having a positive impact on others. See

 ECF No. 30 at 71. (letter of support describing the defendant’s success as a mentor

 and commitment to “start a non-profit to help deter young people away from a

 trajectory towards prison and self-destruction”). That is certainly commendable.

       However, the defendant’s disciplinary history while incarcerated counsels

 against a sentence modification. The defendant has committed many serious

 institutional infractions, as recently as 2021. See ECF No. 46-2 (SEALED).

 (disciplinary record noting infractions for email abuse (2021); gambling (2021);

 assault (2020); threatening bodily harm (2020); refusing work assignment and refusal

 to obey order (2018); refusing work assignment (2017); engaging in sexual acts (2017);

 bribing a staff member (2017); refusing work assignment (2017); refusing work

 assignment (2017); being insolent to staff (2017); engaging in sexual acts (2017);
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 possession of a dangerous weapon (2015); assault (2015); possession of a dangerous

 weapon (2015); and fighting with another inmate (2014)).

       Indeed, it is difficult to square the defendant’s letter of support with his

 repeated, serious institutional violations. As a result, the Court finds that while the

 defendant has taken significant steps to improve himself, these steps are not

 “extraordinary and compelling” reasons that warrant sentence modification.

                     b.    18 U.S.C. § 3553(a) Factors

       Even if the defendant had demonstrated extraordinary and compelling reasons

 such that compassionate release might be warranted, the factors enumerated in

 18 U.S.C. § 3553(a), when viewed in light of the health and circumstances of the

 defendant as discussed above, counsel against issuing relief.

       The “nature and circumstances of the offense” for which the defendant was

 convicted are serious. The defendant took a loaded firearm to the robbery, forced an

 innocent bystander into the bank, and threatened to “shoot everyone” if the bank

 tellers did not comply with his demands. ECF No. 17 at ¶¶ 1, 5. Given the

 “seriousness of the offense,” the sentence imposed must be sufficient to “promote

 respect for the law,” provide just punishment for the offense,” and “afford adequate

 deterrence to criminal conduct.” 18 U.S.C. § 3553(a)(2).

       As to the “history and characteristics of the defendant,” the Court is

 particularly influenced by the defendant’s criminal history. 18 U.S.C. § 3553(a)(1). As

 discussed earlier, that history is lengthy, with multiple theft-related offenses. See

 ECF No. 30 at 61–65.



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       The “kinds of sentences available” and the “sentencing range” also counsel

 against granting compassionate relief. 18 U.S.C. § 3553(a)(3)-(4). The first count of

 the defendant’s offense carries a maximum sentence of 25 years of imprisonment, and

 the second carries a mandatory minimum sentence of seven years. ECF No. 30 at 66.

 The defendant was sentenced to 204 months of incarceration. ECF No. 28 at 1–2 (120

 months of incarceration for the Bank Robbery followed by a consecutive 84 months of

 incarceration for the § 924(c) offense). Modifying the defendant’s sentence to 144

 months of incarceration, as he has requested, would result in him serving just over

 70 percent of the sentence imposed, which is well below the bottom end of the

 guidelines range. See United States v. Kibble, 992 F.3d 326, 331 (4th Cir. 2021)

 (district courts are “entitled to consider the amount of time [the defendant] already

 had served as one factor in the § 3553(a) analysis.”). Given the nature of his conduct,

 120 months of supervised release, as the defendant has requested, would not “reflect

 the seriousness of the offense, . . . promote respect for the law, . . . [or] provide just

 punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A). 16

       No single fact in the defendant’s background—whether positive or negative—

 sways the Court’s determination as to the 18 U.S.C. § 3553(a) analysis, because the

 Court—as it must—has looked at the defendant’s background as a whole, including

 whether the passage of time has changed the balance. However, after weighing the

 factors enumerated in 18 U.S.C. § 3553(a), the Court finds that sentence modification




 16 The Court considered the remaining sentencing factors in conjunction with its

 analysis in Part III.B.i.
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 is not warranted. Accordingly, the Motion for Compassionate Release will be

 DENIED.

 IV.   CONCLUSION

       Defendant Andrew Glenford Brown’s Motion for Compassionate Release (ECF

 Nos. 38, 42) is DENIED.

       The Clerk is DIRECTED to send a copy of this Opinion and Order to the

 defendant and to all counsel of record.

       IT IS SO ORDERED.


                                                         /s/
                                   Jamar K. Walker
                                   United States District Judge

 Norfolk, Virginia
 July 10, 2024




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